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               Exhibit B
5/26/2020                                           CT CMECF
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                                                U.S. District Court
                                      District of Connecticut (New Haven)
                                CIVIL DOCKET FOR CASE #: 3:20-cv-00150-RNC


 Rease v. Charter Communications, Inc.                                                  Date Filed: 02/03/2020
 Assigned to: Judge Robert N. Chatigny                                                  Jury Demand: Plaintiff
 Cause: Telecommunications Act                                                          Nature of Suit: 890 Other Statutory Actions
                                                                                        Jurisdiction: Federal Question
 Plaintiff
 Daniel Rease                                                            represented by James J. Reardon , Jr
 individually and on behalf of all others                                               Reardon Scanlon LLP
 similarly situated.                                                                    45 South Main Street Suite 305
                                                                                        West Hartford, CT 06107
                                                                                        860-955-9455
                                                                                        Fax: 860-520-5242
                                                                                        Email: james.reardon@reardonscanlon.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Philip Lawrence Fraietta
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                                                                                        New York, NY 10019
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                                                                                        Email: pfraietta@bursor.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


 V.
 Defendant
 Charter Communications, Inc.                                            represented by Brian E. Moran
                                                                                        Robinson & Cole LLP, Stamford
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                                                                                        Stamford, CT 06901-2249
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                                                                                        Email: bmoran@rc.com
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                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Ryan Watstein
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                                                                                        Atlanta, GA 30363
https://ecf.ctd.uscourts.gov/cgi-bin/DktRpt.pl?489320488945719-L_1_0-1                                                                1/5
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                                                                  ATTORNEY TO BE NOTICED

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                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

                                                                           Adamson Starr
                                                                           Kabat Chapman & Ozmer
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                                                                           Atlanta, GA 30363
                                                                           678-637-2739
                                                                           Email: astarr@kcozlaw.com
                                                                           ATTORNEY TO BE NOTICED


  Date Filed             #    Docket Text
  02/03/2020             1 COMPLAINT -CLASS ACTION against Charter Communications, Inc. ( Filing fee $400
                           receipt number ACTDC-5671149.), filed by Daniel Rease. (Attachments: # 1 Civil Cover
                           Sheet)(Reardon, James) (Entered: 02/03/2020)
  02/03/2020                  Request for Clerk to issue summons as to Charter Communications, Inc.. (Reardon, James)
                              (Entered: 02/03/2020)
  02/03/2020                  Judge Robert N. Chatigny added. (Oliver, T.) (Entered: 02/03/2020)
  02/03/2020             2 Order on Pretrial Deadlines: Amended Pleadings due by 4/3/2020. Discovery due by
                           8/4/2020. Dispositive Motions due by 9/8/2020.
                           Signed by Clerk on 2/3/2020.(Murphy, Tatihana) (Entered: 02/04/2020)
  02/03/2020             3 ELECTRONIC FILING ORDER FOR COUNSEL - PLEASE ENSURE COMPLIANCE
                           WITH COURTESY COPY REQUIREMENTS IN THIS ORDER
                           Signed by Judge Robert N. Chatigny on 02/3/2020.(Murphy, Tatihana) (Entered:
                           02/04/2020)
  02/03/2020             4 STANDING PROTECTIVE ORDER
                           Signed by Judge Robert N. Chatigny on 2/3/2020.(Murphy, Tatihana) (Entered:
                           02/04/2020)
  02/04/2020             5 NOTICE TO COUNSEL/SELF-REPRESENTED PARTIES : Counsel or self-represented
                           parties initiating or removing this action are responsible for serving all parties with
                           attached documents and copies of 4 Standing Protective Order, 3 Electronic Filing Order, 2
                           Order on Pretrial Deadlines, 1 Complaint filed by Daniel Rease
                           Signed by Clerk on 02/04/2020.(Murphy, Tatihana) (Entered: 02/04/2020)
  02/04/2020             6 ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4 and LR 4 as to
https://ecf.ctd.uscourts.gov/cgi-bin/DktRpt.pl?489320488945719-L_1_0-1                                              2/5
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                           *Charter Communications, Inc.* with answer to complaint due within *21* days. Attorney
                           *James J. Reardon, Jr* *Reardon Scanlon LLP* *45 South Main Street Suite 305* *West
                           Hartford, CT 06107*. (Murphy, Tatihana) (Entered: 02/04/2020)
  02/10/2020             7 SUMMONS Returned Executed by Daniel Rease. Charter Communications, Inc. served on
                           2/10/2020, answer due 3/2/2020. (Reardon, James) (Entered: 02/10/2020)
  02/24/2020             8 NOTICE of Appearance by Trevor Loomis Bradley on behalf of Charter Communications,
                           Inc. (Bradley, Trevor) (Entered: 02/24/2020)
  02/24/2020             9 MOTION for Extension of Time until March 19, 2020 to answer or otherwise respond to
                           Plaintiff's Class Action Complaint 1 Complaint by Charter Communications, Inc..
                           (Bradley, Trevor) (Entered: 02/24/2020)
  02/24/2020           10 NOTICE of Appearance by Brian E. Moran on behalf of Charter Communications, Inc.
                          (Moran, Brian) (Entered: 02/24/2020)
  02/24/2020            11 ORDER granting 9 Unopposed Motion for Extension of Time to 3/19/2020 to answer or
                           otherwise respond to Plaintiff's Class Action Complaint. Signed by Judge Robert N.
                           Chatigny on 2/24/2020. (Rickevicius, L.) (Entered: 02/24/2020)
  02/24/2020                  Answer deadline updated for Charter Communications, Inc. to 3/19/2020. (Rickevicius,
                              L.) (Entered: 02/24/2020)
  03/05/2020           12 MOTION for Attorney(s) Adamson B. Starr to be Admitted Pro Hac Vice (paid $75 PHV
                          fee; receipt number ACTDC-5732037) by Charter Communications, Inc.. (Bradley,
                          Trevor) (Entered: 03/05/2020)
  03/05/2020           13 AFFIDAVIT re 12 MOTION for Attorney(s) Adamson B. Starr to be Admitted Pro Hac
                          Vice (paid $75 PHV fee; receipt number ACTDC-5732037) Signed By Adamson B. Starr
                          filed by Charter Communications, Inc.. (Attachments: # 1 Exhibit)(Bradley, Trevor)
                          (Entered: 03/05/2020)
  03/05/2020           14 MOTION for Attorney(s) Ryan D. Watstein to be Admitted Pro Hac Vice (paid $75 PHV
                          fee; receipt number ACTDC-5732094) by Charter Communications, Inc.. (Bradley,
                          Trevor) (Entered: 03/05/2020)
  03/05/2020           15 AFFIDAVIT re 14 MOTION for Attorney(s) Ryan D. Watstein to be Admitted Pro Hac
                          Vice (paid $75 PHV fee; receipt number ACTDC-5732094) Signed By Ryan D. Watstein
                          filed by Charter Communications, Inc.. (Attachments: # 1 Exhibit)(Bradley, Trevor)
                          (Entered: 03/05/2020)
  03/06/2020           16 MOTION for Attorney(s) Philip L. Fraietta to be Admitted Pro Hac Vice (paid $75 PHV
                          fee; receipt number ACTDC-5734650) by Daniel Rease. (Attachments: # 1 Exhibit Certif.
                          of Good Standing)(Reardon, James) (Entered: 03/06/2020)
  03/09/2020           17 ORDER granting 16 Motion for Attorney Philip L. Fraietta to be Admitted Pro Hac Vice.
                          Signed by Clerk on 3/9/2020. (Bozek, M.) (Entered: 03/09/2020)
  03/10/2020           18 MOTION for Attorney(s) Adamson B. Starr to be Admitted Pro Hac Vice by Charter
                          Communications, Inc.. (Bradley, Trevor) (Entered: 03/10/2020)
  03/10/2020           19 AFFIDAVIT Signed By Adamson B. Starr filed by Charter Communications, Inc..
                          (Attachments: # 1 Exhibit)(Bradley, Trevor) (Entered: 03/10/2020)
  03/10/2020           20 MOTION for Attorney(s) Ryan D. Watstein to be Admitted Pro Hac Vice by Charter
                          Communications, Inc.. (Bradley, Trevor) (Entered: 03/10/2020)
  03/10/2020           21 AFFIDAVIT re 20 MOTION for Attorney(s) Ryan D. Watstein to be Admitted Pro Hac
                          Vice Signed By Ryan D. Watstein filed by Charter Communications, Inc.. (Attachments: #
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5/26/2020              Case 3:20-cv-08016-DLR Document       CT CMECF
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                           1 Exhibit)(Bradley, Trevor) (Entered: 03/10/2020)
  03/12/2020           22 ORDER granting 18 Motion to Appear Pro Hac Vice Certificate of Good Standing due by
                          5/11/2020. Signed by Clerk on 3/12/2020. (Murphy, Tatihana) (Entered: 03/12/2020)
  03/12/2020           23 ORDER granting 20 Motion to Appear Pro Hac Vice Certificate of Good Standing due by
                          5/11/2020. Signed by Clerk on 3/12/2020. (Murphy, Tatihana) (Entered: 03/12/2020)
  03/12/2020           24 ORDER denying as moot 12 Motion to Appear pro hac vice in light of ECF No. 22.
                          Signed by Judge Robert N. Chatigny on 3/12/2020. (Rickevicius, L.) (Entered:
                          03/12/2020)
  03/12/2020           25 ORDER denying as moot 14 Motion to Appear pro hac vice in light of ECF No. 23.
                          Signed by Judge Robert N. Chatigny on 3/12/2020. (Rickevicius, L.) (Entered:
                          03/12/2020)
  03/16/2020           26 CERTIFICATE OF GOOD STANDING re 20 MOTION for Attorney(s) Ryan D. Watstein
                          to be Admitted Pro Hac Vice by Charter Communications, Inc. (Murphy, Tatihana)
                          (Entered: 03/17/2020)
  03/16/2020           27 CERTIFICATE OF GOOD STANDING re 18 MOTION for Attorney(s) Adamson B. Starr
                          to be Admitted Pro Hac Vice by Charter Communications, Inc. (Murphy, Tatihana)
                          (Entered: 03/17/2020)
  03/19/2020           28 NOTICE of Appearance by Ryan Watstein on behalf of Charter Communications, Inc.
                          (Watstein, Ryan) (Entered: 03/19/2020)
  03/19/2020           29 NOTICE of Appearance by Adamson Starr on behalf of Charter Communications, Inc.
                          (Starr, Adamson) (Entered: 03/19/2020)
  03/19/2020           30 ANSWER to 1 Complaint with Affirmative Defenses by Charter Communications, Inc..
                          (Watstein, Ryan) (Entered: 03/19/2020)
  03/19/2020           31 MOTION to Stay by Charter Communications, Inc..Responses due by 4/9/2020 (Watstein,
                          Ryan) (Entered: 03/19/2020)
  03/19/2020           32 NOTICE of Appearance by Philip Lawrence Fraietta on behalf of Daniel Rease (Fraietta,
                          Philip) (Entered: 03/19/2020)
  03/30/2020           33 Corporate Disclosure Statement by Charter Communications, Inc.. (Watstein, Ryan)
                          (Entered: 03/30/2020)
  04/07/2020           34 Consent MOTION for Extension of Time to File Response/Reply as to 31 MOTION to
                          Stay until April 23, 2020 by Daniel Rease. (Fraietta, Philip) (Entered: 04/07/2020)
  04/08/2020           35 ORDER granting 34 Motion for Extension of Time to File Response re 31 MOTION to
                          Stay. Responses due by 4/23/2020. Signed by Judge Robert N. Chatigny on 4/8/2020.
                          (Rickevicius, L.) (Entered: 04/08/2020)
  04/08/2020           36 Set/Reset Deadlines as to 31 MOTION to Stay . Responses due by 4/23/2020.
                          (Rickevicius, L.) (Entered: 04/08/2020)
  04/08/2020           37 NOTICE by Charter Communications, Inc. re 31 MOTION to Stay (Watstein, Ryan)
                          (Entered: 04/08/2020)
  04/08/2020           38 Joint REPORT of Rule 26(f) Planning Meeting. (Fraietta, Philip) (Entered: 04/08/2020)
  04/23/2020           39 Memorandum in Opposition re 31 MOTION to Stay filed by Daniel Rease. (Attachments:
                          # 1 Exhibit A)(Fraietta, Philip) (Entered: 04/23/2020)
  05/07/2020           40 REPLY to Response to 31 MOTION to Stay filed by Charter Communications, Inc..

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                           (Attachments: # 1 Exhibit A - Transcript)(Watstein, Ryan) (Entered: 05/07/2020)
  05/22/2020           41 ORDER granting 31 Motion to Stay. The constitutionality of the TCPA is presently before
                          the Supreme Court, which is expected to release a decision in June. Even assuming that the
                          plaintiff's argument that Barr v. American Ass'n of Political Consultants will not control
                          the outcome of the case is correct, it seems unlikely that the Supreme Court's analysis of
                          the constitutionality of the TCPA will be entirely irrelevant to this case. Additionally, the
                          Court finds it unlikely that plaintiff will be meaningfully prejudiced by this brief stay. "
                          [T]he stay here is [about one month] and any alleged harm to Plaintiff is minimal. On the
                          other hand, in the absence of a stay, Charter would be required to spend additional
                          resources defending against this putative nationwide class action that may ultimately be
                          rendered moot by the decision in AAPC." Nakai v. Charter Commns, Inc., No. 19-8035-
                          GW-SSx, 2020 WL 1908949, at *6 (C.D. Cal. Apr. 15, 2020). Accordingly, the motion is
                          granted and the case is stayed until the Supreme Court releases its decision in AAPC. So
                          ordered. Signed by Judge Robert N. Chatigny on 5/22/20. (Morgan, Luke) (Entered:
                          05/22/2020)



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